Case 10-60990-wlh                      Doc 47    Filed 01/17/13 Entered 01/17/13 06:08:05                                 Desc Main
Form 210A (10/06)                                Document
                                                United        Page 1 of 7 Court
                                                       States Bankruptcy
                                                        Northern District of GA (Atlanta)

              In Re: BOBBY MANALCUS WILBANKS                              Case No: 10-60990
                KIMBERLY ANN WILBANKS

                                            TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE, or deemed filed under 11 U.S.C. § 1111 (a). Transferee hereby gives evidence and notice
pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the claim referenced in the evidence and notice.




              Midland Funding LLC                                         GE Money Bank
              ---------------------------                                 ---------------------------
              Name of Transferee                                          Name of Transferor




              Name and Address where notices to transferee                Court Claim # (if known): 5
              should be sent:                                             Amount of Claim: $1,614.51
              Midland Funding LLC                                         Date Claim Filed: 8/24/2010
              By its authorized agent Recoser, LLC
              25 SE 2nd Ave, Suite 1120
              Miami FL 33131-1605




              Phone: (305) 379-7674                                       Phone: (305) 379-7674
              Last Four Digits of Acct # :8872                            Last Four Digits of Acct # :8872


              Name and Address where transferee payments
              Should be sent (if different from above)


I declare under penalty of perjury that the information provided in this notice is true and correct to the best of knowledge and belief.




              By: /s/ Ramesh Singh                                        Date: January 17, 2013
               ------------------------------------
               Ramesh Singh
               25 SE 2nd Ave, Suite 1120
               Miami FL 33131-1605
               claims-recoser@recoverycorp.com
               Transferee/Transferee's Agent




Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571
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